        Case 3:21-cv-08458-LB Document 107 Filed 01/17/24 Page 1 of 8




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 3 MANNING & KASS
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 4 801 S. Figueroa St, 15th Floor
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 5 Telephone: (213) 624-6900
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 6
   Attorneys for Defendant, TARGET
 7 CORPORATION
 8                         UNITED STATES DISTRICT COURT
 9    NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
10
11 BRYON JACKSON,                                Case No. 3:21-cv-08458-LB
                                                 [Honorable District Judge, Magistrate
12                Plaintiff,                     Judge Laurel Beeler]
13         v.                                    [MOTION IN LIMINE NO. 6]
14 TARGET CORPORATION,
                                                 NOTICE OF MOTION AND
15                Defendant.                     MOTION IN LIMINE BY
                                                 DEFENDANTS TO EXCLUDE
16                                               OPINIONS OF PLAINTIFF’S
                                                 EXPERTS, PRECLUDE EXPERT
17                                               OPINIONS OF NON-DESIGNATED
                                                 OR NON-RETAINED EXPERT
18                                               WITNESSES; MEMORANDUM OF
                                                 POINTS AND AUTHORITIES;
19                                               DECLARATION OF GABRIELLA
                                                 PEDONE
20
                                                 [Proposed Order filed concurrently]
21
22
                                                 Date: 2/15/2024
23                                               Time: 1:00 thp.m.
                                                 Crtrm.: B 15 Floor
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28                                          1                     Case No. 3:21-cv-08458-LB
       NOTICE OF MOTION AND MOTION IN LIMINE BY DEFENDANTS TO EXCLUDE OPINIONS OF
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        Case 3:21-cv-08458-LB Document 107 Filed 01/17/24 Page 2 of 8




 1 TO PLAINTIFF AND HIS COUNSEL OF RECORD HEREIN:
 2         PLEASE TAKE NOTICE THAT on February 15, 2024, at 1:00 p.m., or as
 3 soon thereafter as counsel may be heard, in the courtroom of the Honorable Laurel
 4 Beeler located in the San Francisco Courthouse, 450 Golden Gate Ave., San
 5 Francisco, CA 94102, Defendant TARGET CORPORATION (“Defendant”) will
 6 move in limine for an order to exclude from evidence, and from being published to
 7 the jury or finder of fact, and from being admitted into evidence, in this matter any
 8 and all evidence, documents, records, recordings, testimony, statements, and
 9 reference before the jury, and from admission into evidence, of opinions or testimony
10 by plaintiff’s experts.
11         This motion is made pursuant to Federal Rules of Evidence Rules 401-402
12 (relevance) and 403 (unfair prejudice, confusion of issues, misleading the jury, and
13 undue consumption of time), on the grounds that such evidence is irrelevant. In
14 addition, if the evidence were admitted, there is a danger that Defendant would be
15 unfairly prejudiced, there would be confusion of issues, misleading of the jury, and
16 the evidence would require undue consumption of time.
17         This motion is made following defense counsel's meet and confer efforts with
18 plaintiff’s counsel on December 29, 2023.
19         This motion is based on the attached memorandum of points and authorities,
20 all pleadings, records and files in this action, and upon such further oral and
21 documentary evidence as may be presented at the hearing on this motion.
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28                                          2                     Case No. 3:21-cv-08458-LB
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        Case 3:21-cv-08458-LB Document 107 Filed 01/17/24 Page 3 of 8




 1 DATED: January 17, 2024               MANNING & KASS
                                         ELLROD, RAMIREZ, TRESTER LLP
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 4                                       By:         /s/Gabriella Pedone
 5                                             David V. Roth
                                               Gabriella Pedone
 6
                                               Attorneys for Defendant, TARGET
 7                                             CORPORATION
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                                   OF GABRIELLA PEDONE
         Case 3:21-cv-08458-LB Document 107 Filed 01/17/24 Page 4 of 8




 1                MEMORANDUM OF POINTS AND AUTHORITIES
 2 I.      INTRODUCTION
 3         Defendant respectfully request that the honorable Court exclude from trial any
 4 and all evidence, documents, records, recordings, testimony, statements, opinions,
 5 argument, and/or reference before the jury, and from admission into evidence,
 6 opinions or testimony by plaintiff’s experts on the grounds that such evidence is
 7 irrelevant and unfairly prejudicial since plaintiff failed to disclose or designate any
 8 experts.
 9         All parties have engaged in discovery. Defendant anticipates that Plaintiff will
10 attempt to introduce expert opinions of non-designated or non-retained expert
11 witnesses. Such testimony would be unfairly prejudicial to Defendant and should be
12 precluded at the time of trial. (Pedone Decl., ¶ 3.)
13         Defendant seeks to preclude Plaintiff from introducing expert opinions of non-
14 designated or non-retained expert witnesses as such would result in surprise at trial
15 and unduly prejudice Defendant. (Pedone Decl., ¶ 4.)
16         On February 24, 2023 the parties were to disclose experts. Plaintiff failed to
17 disclose any experts and thus any experts that plaintiff would like include at trial as
18 to opinions and testimony are irrelevant, unfairly prejudicial, and should be excluded
19 as such.
20 II.     PLAINTIFF'S EXPERTS' OPINIONS AND TESTIMONY SHOULD
21         BE EXCLUDED BECAUSE IT IS IRRELEVANT
22         The Court should exclude from evidence any and all opinions or testimony
23 offered by Plaintiff’s experts because plaintiff failed to disclose any experts.
24         Federal Rules of Evidence rule 401 sets forth a test for relevance. Evidence is
25 relevant if it has any tendency to make a fact more or less probable that it would be
26 without the evidence and the fact is of consequence in determining the action. Only
27 relevant evidence is admissible. Fed. R. of Evid. 402.All parties have engaged in
28 discovery.                              1                     Case No. 3:21-cv-08458-LB
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        Case 3:21-cv-08458-LB Document 107 Filed 01/17/24 Page 5 of 8




 1         Motions in limine are intended to preclude presentation of evidence that
 2 would prejudice the moving party. (Kelly v. New West Fed. Sav.(1996) 49
 3 Cal.App.4th 659, 669.) "A typical order in limine excludes the challenged evidence
 4 and directs counsel, parties, and witnesses not to refer to the excluded matters
 5 during trial." (Id.) The advantage of such motions is to avoid the obviously futile
 6 attempt to "unring the bell" when highly prejudicial evidence is offered and then
 7 stricken at trial. (Hyatt v. Sierra Boat Co. (1978) 79 Cal.App.3d 325, 337.) There
 8 are no limits on the subject matter of motions in limine. They may be used to
 9 exclude "any kind of evidence which could be objected to at trial, either as irrelevant
10 or subject to discretionary exclusion as unduly prejudicial." (Clemens v. American
11 Warranty Corp, (1987) 193 Cal.App.3d 444, 451.)
12         An order precluding Plaintiff from introducing at trial expert opinions of non-
13 designated or non-retained expert witnesses is appropriate here because Defendant
14 would be prejudiced by such evidence.
15         Defendant anticipates that Plaintiff will attempt to introduce expert opinions of
16 non-designated or non-retained expert witnesses. Such testimony would be unfairly
17 prejudicial to Defendant and should be precluded at the time of trial. (Pedone Decl.,
18 ¶ 2.)
19         Defendant seeks to preclude Plaintiff from introducing expert opinions of non-
20 designated or non-retained expert witnesses as such would result in surprise at trial
21 and unduly prejudice Defendant. (Pedone Decl., ¶ 3.)
22         On February 24, 2023 the parties were to disclose experts. Plaintiff failed to
23 disclose any experts and thus any experts that plaintiff would like include at trial as
24 to opinions and testimony are irrelevant, unfairly prejudicial, and should be excluded
25 as such.
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         Case 3:21-cv-08458-LB Document 107 Filed 01/17/24 Page 6 of 8




 1         The Court should exclude from evidence all opinions or testimony offered by
 2 Plaintiff’s experts because it would be prejudicial to defendants.
 3         Accordingly, any and all opinions or testimony offered by Plaintiff’s experts
 4 should be excluded.
 5 III.    PLAINTIFF'S EXPERTS' OPINIONS AND TESTIMONY IF ANY,
 6         ARE UNFAIRLY PREJUDICIAL.
 7         Moreover, under Federal Rule of Evidence Rule 403, opinions or testimony
 8 offered by Plaintiff’s experts would cause unfair prejudice, confusion of issues,
 9 mislead the jury, and would result undue consumption of time.
10         The probative value of all opinions or testimony offered by Plaintiff’s experts
11 is substantially outweighed by the danger of unfair prejudice to Defendant as no such
12 experts were ever disclosed.
13         Such evidence is unduly prejudicial to Defendant because it is calculated to
14 distract the jury's attention from the conduct of the parties in this case that is actually
15 at issue and evoke an emotional reaction from the jury against the Defendants.
16 Specifically, there is a risk that the jury will rely on opinions or testimony offered by
17 Plaintiff’s experts.
18         The Court should grant this motion and exclude any and all opinions or
19 testimony offered by Plaintiff’s experts for failure to disclose them.
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21 IV.     CONCLUSION
22         For all the foregoing reasons, Defendant respectfully request that the Court
23 exclude any and all opinions and testimony by plaintiff’s experts.
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28                                          3                     Case No. 3:21-cv-08458-LB
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        Case 3:21-cv-08458-LB Document 107 Filed 01/17/24 Page 7 of 8




 1 DATED: January 17, 2024               MANNING & KASS
                                         ELLROD, RAMIREZ, TRESTER LLP
 2
 3
 4                                       By:         /s/Gabriella Pedone
 5                                             David V. Roth
                                               Gabriella Pedone
 6
                                               Attorneys for Defendant, TARGET
 7                                             CORPORATION
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        Case 3:21-cv-08458-LB Document 107 Filed 01/17/24 Page 8 of 8




 1                    DECLARATION OF GABRIELLA PEDONE
 2         I, Gabriella Pedone, declare as follows:
 3         1.     I am an attorney duly admitted to practice before this Court. I am an
 4 attorney with Manning & Kass, Ellrod, Ramirez, Trester LLP, attorneys of record
 5 for Defendant, TARGET CORPORATION. I have personal knowledge of the facts
 6 set forth herein, and if called as a witness, I could and would competently testify
 7 thereto.
 8         2.     I make this declaration in support of Defendants’ Motion in Limine to
 9 Exclude Opinions of Plaintiff’s Experts.
10         3.     All parties have engaged in discovery. Defendant anticipates that
11 Plaintiff will attempt to introduce expert opinions of non-designated or non-retained
12 expert witnesses. Such testimony would be unfairly prejudicial to Defendant and
13 should be precluded at the time of trial.
14         4.     Defendant seeks to preclude Plaintiff from introducing expert opinions
15 of non-designated or non-retained expert witnesses as such would result in surprise
16 at trial and unduly prejudice Defendant.
17         5.     Plaintiff did not make his expert disclosures.
18         I declare under penalty of perjury under the laws of the United States of
19 America that the foregoing is true and correct.
20         Executed on this 17th day of January 2024, at Los Angeles, California.
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23                                              /s/Gabriella Pedone
                                                Gabriella Pedone
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28                                          1                     Case No. 3:21-cv-08458-LB
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